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✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                            FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON
                                                              for
                                            Eastern District of Washington                          2/23/17
                                                                                                  SEAN F. MCAVOY, CLERK



U.S.A. vs.                   Thomason, Mandy Lee                          Docket No.             2:16CR00198-SMJ-5


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Mandy Lee Thomason, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 20th day of December 2016 under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Special Condition #27: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Service Office for determining whether the
Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing,
the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of methamphetamine on January 23 and January 26, 2017.

Violation #2: The defendant failed to report for random drug testing on January 10 and February 16, 2017.


                           PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       February 23, 2017
                                                                    by      s/Erik Carlson
                                                                            Erik Carlson
                                                                            U.S. Pretrial Services Officer
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  Re: Thomason, Mandy Lee
  February 23, 2017
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THE COURT ORDERS

[ ]  No Action
[ ]  The Issuance of a Warrant
[X]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
     petition with the other violations pending before the
     Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ X]  Defendant to appear before the Magistrate Judge.
[ ]  Other

                                                                  Signature of Judicial Officer
                                                                      02/23/2017
                                                                  Date
